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                                                                                           R~~~I'~/~C~►
                                                                                                                     c~,.~
                             IN THE UNITED STATES DISTRICT COURT                                  Nov . ~ ~ao~ ~"
                                 NORTHERN DISTRICT OF ILLINOIS
                                       EASTEIL'V DIVISION
                                                                                                 Nov ►~ ~~
                                                                                              MICHAEL W.DOBSINS
                                                                                           CLERK, U.S. DIS7RIC7 COURT
 Uni~~tes of America ex rel.

 An~T ~-t~N`~ ~~4~,~tS,N.0~231
 (Full name and prison number)
 (Include name under which convicted)
                                                               08CV6602
 PETITIONER
                                                               JUDGE ANDERSEN
          V S.                                                 MAGISTRATE JUDGE DENLOW
i~~.~~y L ~~ c~ ~~1~ ~o,.r a~, N.
 (Warden, Superintendent, or authorized
 person having custody of petitioner)

 RESP()NDFNT, and
                                                                                                          yl
 (Fill in the f~llowin~ blank only ifjudgment
 attacked imposes a sentence to commence
 in the future)

 A"1'"I'OFtNEY GENERAL OF THE STATE OF                            Case Number of State Court Con~-iction:


 (State where judgment entered)

             PETITION FOR ~'~'RIT OF HABEAS CORPUS —PERSON L'V STATE CUSTODY
 1. Name and location of court where conviction entered: C1 C' CU ~T CO L1 ~' ~C O~J C00i. CL~.1t~`'ftiS

 ~~(]-i) ~'4U"C~,... CG._.1t~rc:Cr~~~.~ A15c~.t~~~Q ~ C~.;C_a_~o~1~iNolS X060$
 2. Date ofjudgment of conviction:      S~.r \~.%~q.~ 1 ~,L, , ~~ _'~G~ 5
 3. Offenses)of which petitioner was convicted (list all counts with indictment numbers, if known)

   ~~5~,~~ti~;~~ C~u~~~~.r~ c~~ co~ti~c ~~c~~~~b~~t
 4. Sentences)imposed:        ~ 2,~Q ~;~
 5. What was your plea? (Check one)              (A) Not guilty      (~)
                                                 (B) Guilty          ( )
                                                 (C) Nolo conten~cre ( )
     If you pleaded guilty to one count or indictment and not guilty to another count or indictment, give details:




                                                                                                 Revised: 7/20105
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PART I —TRIAL AND DIItECT REVIEW

1. Kind of trial: (Check one}:         Jury ( )                Judge only (-~)

2. Did you testify at trial?           YES (,~/j               NO       ( )
3. Did you appeal from the conviction or the sentence imposed? YES ( ) NO( )

    (A) If you appealed, give the

       (1) Name of court:        ~►,{' ~Q,~L~Q ,(°p~Q1~F"~((i fJ O l

       (2) Result:               ~.'~ ~ ~ Q M~t~,~~..~.~..~ se~i l~`~1~,~

       (3) Date of ruling:     ~U~~ `2.,~ ~ 2..~ ~O~
                                                           f                t         r
       (4) Issues raised:        ~o~\c~V~~~~ ~c~u.~:,S~~S Ar~i~~.~s~.i~~1~.~i'11~5.?iJs.(.~S'~ SQ

        C_~~.`sn ~'~' ~~ v a., ~.h~ Ce,ss 1➢ ~ ~~Q.-C~o N 1pv.~'~~~ ~..-C4~ ~.G1P D~.~r~ J~l~~
      ~.~~,t,~ ~~ ~~.~,-rive.~ cgs ONT's ~0,10~,~~ O,~ ~eti0.'i'                          ~~    n~S~t
    (B) If you did not appeal, explain briefly why not:




4. Did you appeal, or seek leave to appeal, to the highest state court? YES(~              NO( )
    (A) If yes, give the




                                      •




                 1                                                  '   /        r'



    (B) If no, why not:

5. Did you petition the United States Supreme Court for a writ of certiorari? Yes(~ No( )

    If yes, give(A)date of petition:°~~~1~~c~(B)date certiorari was denied:                ~,            p'~




                                                      2                                          Revised: 7/20/05
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PART II —COLLATERAL PROCEEDINGS

1.   With respect to this conviction or sentence, have you filed apost-conviction petition in state court?

     YES(~ NO ( )

     W ith respect to each post-conviction petition give the following information(use additional sheets ifnecessary):

     A. Name of court:         C_ ~ ~- CL ~~~ ~'_.~nU ~ i1 °G' C _4~ O~ ~'~l).l~~t'S

     B. Date of filing:     ~~~~ ~~ ~ ~_nc,~~

     C. Issues raised: ~ t~plJt ~~t~ ~a.~~o1~iC_c~"~12,Q ~~1i~Q_n~CQ _ l:i~l,.S US~~~J

        ~k,^c'n .~ ~.> 5~.~ t ~~~c~ tic ~.►~r ~.,~ r~ `T'r i Q,I ~„~c~ D~~~ ,1i~~Q ,
        ~~u ~ s~.~ t~~...s ~,~~~x~~..c~'u~ ~'~.s~ ~a.41z°,~~rta r. ~;~~~,~ ~Ssil,~.4
     D. Did you receive an evidentiary hearing on your petition?             YES( ) NO (~~

     E. What was the court's ruling?       ~~,~ j ~,~,~~_e'~~(~"~ p~

     F. Date of court's ruling:           ~u~~ ~'2._.i ~j_c~~,~

     G. Did you appeal from the ruling on your petition?                     YES (~) NO ( )
     H. (a)    If yes, (1) what was the result?     N p ~~

                        (2) date of decision:

        (b) If no,explain briefly why not: ~~„~,~j(',Q                   D~ ~.--~'~Q~1 ~c.,5 ~1~'C~ nnfl l~ ~t~c o       E co ~ a


     I. Did you appeal, or seek leave to appeal this decision to the highest state court?

        YES(f          NO ( )

        (a)    If yes, (])what was the result?

                        (2)date of decision:



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2. With respect to this conviction or sentence, have you filed a petition in a state court usi   any other form of post-
conviction procedure, such as coram nobis or habeas corpus? YES( )                     NO

     A. If yes, give the following information with respect to each proceeding(use separate sheets if necessary):

         1.    Nature of proceeding                         ,~`-?p

        2.     Date petition filed                          ~~

        3.     Ruling on the petition                       ~~~,

        4.     Date of ruling                                ~~~

        5.     If you appealed, what was
               the ruling on appeal?                         ~~~.~

        6.     Date of ruling on appeal                      ~j'L~

        7.     If there was a further appeal,
               what was the ruling ?                          ~~

        8.     Date of ruling on appeal                         ~~~

3.   With respect to this conviction or sentence, have you filed a previous petition for habeas corpus in federal
     court? YES ( ) NO (~/j

     A. If yes, give name of court, case title and case number:



     B. Did the court rule on your petition? If so, state

        (1) Ruling:                                   r

        (2)    Date:                             i~1\~


4.   With respect to this conviction or s ntence, are there legal proceedings pending in any court, other than this
     petition? YES( )            NO(~

     Ifyes,explain:




                                                            4                                       Revised: 7/20/05
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 PART III —PETITIONER'S CLAIMS

 1. State briefly every ground on which you claim that you are being held unlawfully. Summarize briefly the facts
 supporting each ground.. You may attach additional pages stating additional grounds and supporting facts. If you
 fail to set forth all grounds in this petition, you may be barred from presenting additional grounds later.

 BEFORE PROCEEDING IN THE FEDERAL COURT, YOU MUST ORDINARILY FIItST EXHAUST
 YOUR STATE COURT REMEDIES WITH RESPECT TO EACH GROUND FOR RELIEF ASSERTED.

     (A) Ground one~~~,~,~          ~ J~q d I~~CMA ~ ~ ~RO~O.I'f~
              Supporting facts (tell your story briefly without citing cases or




     ~       L         !: ~          ~               1_        ~ f    _ is   ^ ~   ~.~    ~ ~;        ~,   ~~          ,




 ~                                                                                                   y                 ~




     (B) Ground two ~', ~ e Cc~i~3 Q.c~ ~ 1Q~~ ~~C'~ lei Q - ~~S1 ~'~~ ,~ C ~ ,~~% C'c~~1 ~.~~ _'1,.
         Supporting facts:

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 c',~ ~.'~U~~.~ ~~"('1~~ °~ ~c~.... A.► ~ 3~~'~ ~'~c~.~Sc4 ~ ~fi ~s~~' ~c~;1~r~ "C~, o~'~ e C4'
 4,~C ~'~.~ C~~ c\~ s~~,~ ~~ ~~~a.~Ca~n~c ~~ ~'~;o.~-Ce.~i~nn~,~yr t~~~.aci,._
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  5~u ~ ~ C~ e.~,.S t `~ ` ~ ~ a~ c~ ~cri ~n                 Q ~ ~~'~" ~ ~ .~4 (~.       a d ~ c~i'M Q._.~T ~o i'c r.~J~
  M ~,rC`~ 5^~°'~n~ ~ ri'~i ~,~1 ~~ca ~ M s '~''(~~~~ o~ '~~,~~~ C 61,1 L ~C~,~p `~e.S1~'~
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`_C~,..~.%,~i'~ Mao ~~ '~~D,~ P~~.01~~;~~5 0~ ~ ad ~1 C`-~f'L~1`T1~.e .,~ '~11~~1.~ C~~~
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         e                                                                       .,
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            ...




                                                             ~.. 1 ~ •                R    i.    1►          1




    (D) Ground four~~p ,~ p,,U1`CJ~ ~ .~;
        Supporting facts:

                  ~ r       1_'
                              '       ~         ~             ~                            ~            •



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2. Have all grounds raised in this petition been presented to the highest court having jurisdiction?

        YES( ) NO (,,/~

3. If you answered "NO" to question (2), state briefly what grounds were not so presented and why not:




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PART N —REPRESENTATION

Give the name and address, ifknown,ofeach attorney who represented you in the following stages ofthe judgment
attacked herein:

   (A) At preliminary hearing S;~d~~-Y'~.(~~t _t~l
                                                ~ Q~~~L~~.r~ ~~S~(?~ _~~ o~ t ~ eta
   (B) At arraignment and plea _~~,~'k h;oLu A~

   (C) Attrial                    ~QQ~.Q _~ i.1~1_Sv'~_ C,C`a ~'~6~

   (D) Atsentencing               ~~~`~,~p_~ ~~1~~~,~ (~~~

    (E) On appeal                 R~~,~id.~1.'~ ~'_ ~'~\~'i~~

    (F) In any post-conviction proceeding ~,~,p~ ~; Vie,,\ ~„Q~~,` ~f~ ~,

   (G) Other (state):


PART V — FUTiTRE SENTENCE

Do you have any future sentence to serve following the sentence imposed by this conviction?

YES( ) NO (o~

Name and location of the court which imposed the sentence:

Date and length ofsentence to be served in the future


    WHEREFORE, petitioner prays that the court grant petitioner all relief to which he may be entitled in this
proceeding.

Signed on:
             (Date)                             Signature of attorney (if any)


                                                I declare under penalty of perjury that the foregoing is true
                                                and correct.


                                                (Signature of petitioner)


                                                (I.D. Number)

                                               ~z~  d~Qk ~~'2.~Q1°~c~;~"~r~~~o~s 6o~~u.
                                               (Address)




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                     1                       ASA OGAREK:     No.
                     2                       THE COURT:    Thank you, you're all done.        Pass
                     3            this case for a minute. $ring out Santiago Torres.
                     4                              (Case passed)
                     s                       THE CLERK:     Anthony Brown.
                     6                       THE INTERPRETER:      Lee Diaz.
                     ~                              (Interpreter sworn)
                     8                       THE INTERPRETER:      I do, judge.
                     9                       ASA OGAREK:    State calls Myra Franco.
                 to                                 (Witness sworn)
                 11                                        MYRA FRANCO,
                 12               called as a witness herein, having been first duly
                 13               sworn, was examined upon oral interrogatories and
                 14               testified as follows:
                 15                                   DIRECT EXAMINATION
                 16                                       By Ms. Ogarek:
                 l~                     Q.   Please state your full name for the record.
                 18                     A.   Myra Franco.
                 19                     Q.   Miss Franco, do you live here in Chicago?
                 20                     A.   Yes.
                 2i                     Q.   Draw your attention to June 9th, 2003.          About
                 22               2:00 o'clock in the afternoon.
                 23                                 Were you living in Chicago at that time?
                 24                     A.   Yes.




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        1                Q.   Where were you living at that time?           Back
        2           then where were you living?
        3                A.   636 West Pratt.       --
        4                Q.   What floor were you living on?
        5                A.   Fourth.
        6                Q.   Is that a four-story building?
                         A.   Yes.
        8                Q.   At that time were you home at about 2:00
        9           o°clock in afternoon on June 9, 2003, were you home
       10           with your family?
                         A,   Yes.
                         Q.   What were you doing at about that time?
                         A.   I was with my son.
                         Q.   Were you inside your home?
       15                A.   Inside.
                         Q.   What happened at about 2:00 o'clock in the
       l~           afternoon when you were inside your home?
       18                A.   I saw some children through my window on the
       19           other side.
       20                Q.   Did you know who those children were?
       21                A.   Yes.   I knew them from the front.
       22               Q.    Were they neighbors of yours?
       23               A.    Yes.
       24               Q.    What did you see these children doing?




                                              FF-16
               Case: 1:08-cv-06602 Document #: 1 Filed: 11/18/08 Page 24 of 65 PageID #:119
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               1               A.   The children were looking downstairs, a floor
               2          downstairs.
               3               Q.   Did you then look a floor downstairs?
               4               A.   Yes.
               5               Q.   Incidentally, when you look out your window
               6          what can you see across?
                               A.   I saw a man lifting a window and climbing
               8          inside.
               9               Q.   About how far away was that window or that
              io          building from your building?
                               A.   It's a very short distance.         Between the two.
                               Q.   Was there anything in the way of your view or
                          could you see that person clearly and what they were
              14          doing?
              15               A.   I could see clearly.
              16               Q.   What is it you saw that person do?
              17               A.   I just saw him go inside.
              18               Q.   When you say he went inside, he went inside
              19          through the window?
              20               A.   Yes.
              21               Q. .That wasn't your window, was it?
              22               A.   No.
              23               Q.   Was that a neighbor's window?
              24               A.   Yes.




                                                      FF-17
                        Case: 1:08-cv-06602 Document #: 1 Filed: 11/18/08 Page 25 of 65 PageID #:120
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1`~       1~   ~   '    ~   ~   1 ~    ~




                                               Q.   Did you see that person come back outside?
                        2                      A.   No.
                        3                      Q.   After you saw that happen, wh~t~did you do?
                        4                      A.   I went inside my apartment.
                        s                      Q.   Did you later see police arrive?
                        6                      A.   Yes.
                        ~                      Q.   When the police came back, did you go outside
                        e             and talk to the police?
                        a                      A.   Yes.
                       Zo                      Q.   At that time, did you see if they had anybody
                       11             in one of the police vehicles?
                       12                      A.   Yes.
                       13                      Q.   Can you describe the person that they had in
                       14             the back of that vehicle?
                       ~s                 A.      No.
                                ~......e---------__.____~---,
                       16                 Q.      Do you know if it was male or female?
                       l~                      A.   It was a man.
                       la                      Q.   Do you know if that person was Hispanic,
                       19             black, white, Asian, Indian, do you know?
                       20                      A.   Black.
                       21                      Q.   Show you People's Exhibit No. 1 for
                       22             identification.        That's a photograph, correct?
                       23                      A.   Yes.
                       29                      Q.   What is that a picture of?




                                                                     FF-18
 Case: 1:08-cv-06602 Document #: 1 Filed: 11/18/08 Page 26 of 65 PageID #:121



 1          A.     That's the window where he was.
 2          Q.     When you say the window where he was, who are
 3    you talking about?                                        ---
 4          A.     The person I saw going inside.
 5          Q.     Showing you People's Exhibit No. 2 for
 6   identification.
 ~                        Is that a close-up of People's No. 1?
 s          A.     That's the window.
 9          Q.     Both of these pictures, do they truly and
to   accurately show the way the window looked after the guy
11   went inside?
12          A.     What do you mean?
13          Q.     Do these pictures show the way the window
14   looked and the stuff around the window after he went
15   inside that window?
16          A.     Yes.
17                 ASA OGAREK:      Nothing further.
18                 THE COURT:      Cross.
19                             CROSS EXAMINATION
20                              by Mr. Carey:
21          Q.     Miss Franco, what brought your attention to
22   look out the window of your apartment on the fourth
23   floor that day about 2:00 o'clock?
24          A.     I would always be by the window with my son




                                       FF-19
 Case: 1:08-cv-06602 Document #: 1 Filed: 11/18/08 Page 27 of 65 PageID #:122



 1    because he's a small, he's young, and we would sit by
 2    the window and look out the window so that he could see
 3    the children outside from my house.
 4            Q.     How old is your son?
 s            A.     At that time he was three.
 6            Q.     Looking out this window you're able to view
 ~    the window in question that we are here today from, how
 a    far away would you say in feet is that from your
 9    window?
to            A.     It's about where you are, the distance of
11    where you're standing.
12            Q.     Approximately 20 feet?
13            A.     Yes.
14            Q.     The window the individual was crawling
is    inside, that was on the first floor, is that correct?
16            A.     I was on the fourth floor and I was looking
l~   down .
18            Q.    So the window that someone was crawling into
19   was on the first floor, is that correct?
Zo            A.     I'm not sure if it's the first or second
21   floor.        I think it's the second floor.
22            Q.    So when looking down, were you able ~o see
23   the person crawling in the window directly beneath you
24   or was it across the way?




                                        FF-20
         Case: 1:08-cv-06602 Document #: 1 Filed: 11/18/08 Page 28 of 65 PageID #:123
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         1               A.   It was below me but you could see it very
         2       well.
         3               Q.   Do you remember what kind- of clothing that
         4       individual was wearing?
         s            A.      No, I don't remember.
                                                    ~,
         6            Q.      From seeing that person going into the
         7       window, were you able to delineate an ethenticity?
         8                    THE INTERPRETER:        What, I'm sorry?
         9                    THE COURT:     Ethnicity you mean?
        to                    MR. CAREY:     Yes.
        11                    THE WITNESS:      A    Yes.
        12                    MR. CAREY:    Q       What was that?
        13            A.      You-mean his color?
        14            Q.      Yes.
        15            A.      He was black.
        16            Q.      About how long after in time did you --
        l~       strike that.
        18                           After seeing the person going into the
        19       house, how long was it before the, before you saw
        20       police cars arrive?
        21            A.      They came very quickly because the children
        22       were upstairs and I saw that they called the police.
        23            Q.      Were you present when the children made the
        24       phone call to the police?




                                                FF-21
 Case: 1:08-cv-06602 Document #: 1 Filed: 11/18/08 Page 29 of 65 PageID #:124
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 1           A.    I saw when they called.
 2           Q.    How far away from the children were you when
 3   you -saw t-.hem calling the police on the telephone?
 4           A.    The children were right in front of me, in
 5   front of my window.
 6           Q.    So were the children on a house phone or
 ~   cell. phone?
 8           A.    It was a regular phone.
 a           Q.    You could see into the apartment where the
to   children were using the phone?
11           A.    No, the children were outside.             They called
12   from the stairwell.
13           Q.    How far away were you from the stairwell and
i4   the phone inside that stairwell?
is           A.    It's the same distance where the children
16   were.     Right nearby.
l~           Q.    Could you overhear the conversation the
18   children were having on the phone?
19           A.    I couldn't understand the conversation
2o    ecause they-were.
                  --- _s p_ eaki    n g En~1 ~
                            - --_.._~        _i sh_to the
                                                        ~ ~~
                                                          police.
                                                              ~ __ _ m..
21        Q.   Is there any reason you did not call the
22   police?
23                 ASA OGAREK:      Objection, relevance.
z4                 THE COURT:      Overruled.




                                       FF-22
 Case: 1:08-cv-06602 Document #: 1 Filed: 11/18/08 Page 30 of 65 PageID #:125



 1                 THE WITNESS:        A     I didn't have any way of
                                   r
                                                   _ ---   ------~ ....,
 2   .calling them.       Because I don't speak English and when I
 3   saw him go inside, I was.very.afraid..                                          -
 4                 MR. CAREY:      Q       Do you know or remember which
 5   one of the children called the police on the phone?
 6          A.     His name is Renatto.
            Q.     Going back to after the police arrived
 8   shortly on the scene thereafter, you mentioned that you
 9   went downstairs to where the police were.                             Is that
10   correct?
11          A.     They knocked on the door and they asked me to
12   come downstairs.
13          Q.     Did you hear the police knocking on other
14   doors?
15          A.     No.
16          Q.     Do you remember, you went downstairs with the
17   police officer, is that correct?
18          A.     Yes.
19          Q.     How many police officers?
20          A.     One called me to come downstairs.                        The park
21   downstairs.       And I went downstairs.
22          Q.     When you're downstairs you said you could see
23   that someone of a black origin was in the police car?
24          A.     Yes.




                                           FF-23
             Case: 1:08-cv-06602 Document #: 1 Filed: 11/18/08 Page 31 of 65 PageID #:126
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             1             Q.          You were unable to determine if that was the
            2      same person who entered the building that was sitting
             3     in the police car.?
             4             A.          No.
             s             Q.          Does that mean no, you could not tell who
             6     that person was in the police car?
             ~             A.          I didn't see him.
                                    ,..--~~_..___._.... _. .._..
                                d


             e             Q.          When you say you did not see him, are you
             9         meaning you did not see the person inside the police
            to     car or you did not see the person going into the
            11     window?                                           ~,°                                   r.



    ~
    ti 12                  A.          I saw the person _ poi n~into ,the~wi ndow , but I                   J
            13     didn't see his face, I only saw him from the rear.                                `~'
            14             Q.          At some point were the two children standing
            15     outside the apartment building with you with the police
            16     officers?
            l~             A.          Where the police was outside?
            18             Q.          Yes .
            la             A.          I think so.                 I don't remember very well when
            20     they called me downstairs.                              There were other people
            21     there but I don't remember who was there.
            22             Q.          By a lot of people, do you recall a lot of
            23         police officers?
            24             A.          Yes.




                                                                     FF-24
             Case: 1:08-cv-06602 Document #: 1 Filed: 11/18/08 Page 32 of 65 PageID #:127
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             1              Q.    Do you ever remember the police officers
            2          bringing anyone out of the police car?
            3               A.    I don't remember very well whether they took
            4      him out or not.                                                    ^
              __..__._ _...._ ----W-_.._.___.
            s                Q.      Do you- remember any point in time that
            6          someone was brought out of the car and the two children
            ~          who were standing next to you were asked to identify
             e         the person who was brought out of the police car?
            9               A.    I remembered they called the children
           10          downstairs also.
           11               Q.    Were you with the childrens the entire time
           12          they were downstairs?

           13               A.    No.
           14               Q.    In your presence did - you see the children
           15          point to someone who they thought went through the
                                  ___...
           l ~s       _-window?
                      ,~ _. ._. ~.
           l~                A.    No.
           Zs               Q.    Did you know an individual whose window.
           19          someone went into?
           20               A.    No.
           21                     MR. CAREY:    No further questions.
           22                     THE COURT:    Any redirect.
           23                     ASA OGAREK:    Briefly.
           24




                                                    FF-25
             e    Case: 1:08-cv-06602 Document #: 1 Filed: 11/18/08 Page 33 of 65 PageID #:128
t   ~   ~~            ~      ,




                  1                           REDIRECT EXAMINATION
                  2                                By Ms. Ogarek:
                  3              Q.   Nei ~s Franco, y_au. 1 i ve on the fourth f1 oor of
                  4       one building, correct?
                  s              A.   Yes.
                  6              Q.   The building that that person you saw going.
                  ~       through the window, was that on your side or was that
                  a       across the way?
                  a              A.   In front.
                 to              Q.   Is there another building when you look out
                 11       your window, is there another building that you can
                 12       see?
                 13              A.   The side next to where I am, that's the one
                 14       you see .
                 is              Q.   The side next to where you are.           Okay.
                 16                          The children you saw that you
                 l~       recognized, that you saw go and call the police, were
                 la       they closer or farther from the person going through
                 19       the window than you were?
                 20              A.   They were on the floor above where he was.
                 21              Q.   That's when you saw them calling the police?
                 22              A.   Yes.
                 23                   ASA OGAREK:    Nothing further.
                 24                   THE COURT:    Any recross.




                                                        FF-26
            Case: 1:08-cv-06602 Document #: 1 Filed: 11/18/08 Page 34 of 65 PageID #:129
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            1                   MR. CAREY:    None your Honor.
            2                   THE COURT:    She's done.      State?
            3                   ASA OGAR~+C: At ihi_s _time I. would be asking
            4       that the trial be commenced and continued.             So that I
            s       can present the court with the two witnesses I
            6       mentioned earlier.     That being the Fatisha Luna and
            ~       Veronica Guyton.     In addition, I do have one police
            s       officer .
            9                   THE COURT:    Matter's continued
           to       September 14th.
           11                   ASA OGAREK:    I will be here or one of my
           12       partners, but I may be on jury at that time.              So I
           13       ask --
           14                   THE COURT:    Phyllis will finish.
           15

           16

           17

           la                         (Whereupon, proceedings were
           1g                         adjourned in this case)
           20

           21

           22

           23

           24




                                                  FF-27
     Case: 1:08-cv-06602 Document #: 1 Filed: 11/18/08 Page 35 of 65 PageID #:130   1



 1           IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
                  COUNTY DEPARTMENT-CRIMINAL DIVISION
 2

 3.             -                  = I ,__RA~J~ W.: 0'CONNOl~, an Official
 9       Court Reporter for the Circuit Court of Cook County,
 s       County Department/Criminal Division, do hereby certify
 6       that I reported in shorthand the proceedings had at the
         hearing in the above-entitled cause; that I hereafter
 8       caused the foregoing to be transcribed into
 9       typewriting, which I hereby certify to be a true and
10       accurate transcript of the proceedings had before the
11       Honorable JAMES LIMN, Judge of said court.
12

13
                                             _, ,.:
                                                      ,. ...
14
                                           Offi~ci al Court Reporter
15

16       Lic. No. 084-002955
17
                            P
                           .' ~
18      Dated this                   day
19      of                                      2006.
20

21

22

23

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                                            FF-28
              Case: 1:08-cv-06602 Document #: 1 Filed: 11/18/08 Page 36 of 65 PageID #:131

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                               OFFICE OF THE STATE APPELLATE DEFENDER
                                        FIRST JUDICIAL DISTR~GT ..
                                               203 NORTH LASALLE STREET
                                                      24TH FLOOR
                                                 CHICAGO,ILLINOIS 60601
                                                 TELEPHONE: 312/814-5472
                                                    FAX: 312/814-1447

MICHAEL J. PELLETIER                                                         ~1
  DEPUTY DEFENDER                                   November 2~ 0006

ADRIENNE RIVER                  Mr. Anthony Brown
ASSISTANT APPELLATE DEFENDER
                                ~~A DaVld WyiltBr

                                Register No. 2004-0002466
                                Cook County Jail
                                P.O. Box 089002
                                Chicago, IL 60608

                                Dear Mr. Brown:

                                      I received your letter and am r_..,,.v in the process of reviewing your case.
                                When I am ready,I will conta~' y ou and ask you to call me so we can talk. You
                                mentioned a possible iss~ .concerning the grand jury testimony; if you can, you
                                send me a c~n~~'~~~.~ase I don't have that transcript.

                                       I am enclosing your copy ofthe transcript for October 18, 2005.

                                                                                  Sincerely,


                                                                                     f-~
                                                                                  ADRIENNE RIVER
                                                                                  Assistant Appellate Defender
               Case: 1:08-cv-06602 Document #: 1 Filed: 11/18/08 Page 37 of 65 PageID #:132
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                               OFFBCE OF THE STATE APPELLATE DEFENDER
                                        FIRST JUDICIAL DISTRICT
                                               203 NORTH LASALLE STREET
                                                      24TH FLOOR
                                                 CHICAGO, ILLINOIS 60601
                                                 TELEPHONE: 3121814-5472
                                                    FAX: 312/814-1447

MICHAEL J. PELLETIER
  DEPUTY DEFENDER                                   November 2, 2006

ADRIENNE RIVER                  Mr. Anthony Brown
ASSISTANT APPELLATE DEFENDER
                                A/K/A David Wynter
                                Register No. 2004-0002466
                                Cook County Jail
                                P.O. Box .089002
                                Chicago, IL 60608

                                Dear Mr. Brown:

                                       T. received your letter and am now in the process of reviewing your case.
                                When I am ready, I will contact you and ask you to call me so we can talk. You
                                mentioned a possible issue concerning the grand jury testimony; if you can, you
                                send me a copy because I don't have that transcript.

                                       I am enclosing your copy of the transcript for October 18, 2005

                                                                                  Sincerely,

                                                                                                         Q~~,~~
                                                                                           i ~~
                                                                                  ADRIENNE RNER
                                                                                  Assistant Appellate Defender
              Case: 1:08-cv-06602 Document #: 1 Filed: 11/18/08 Page 38 of 65 PageID #:133
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                               0~~8CE O~ THE ST~4TE APPELLATE ~EFENDE~
                                        FIRST J4JDICIAL DISTRICT
                                                203 PIORTH LASALLE STREET
                                                        24TH FLOOR
                                                  CHICAGO,ILLINOIS 60601
                                                  TELEPHONE: 312/814-5472
                                                      FAX: 3121814-1447

MICHAEL .i. PELIETIER
  OEPUTY OEfENDER                                    December 18, 2006

ADRIENNE RIVER                  Mr. Anthony Brown
ASSISTANT APPELLATE ~EfENDER
                                A/K/A David Wynter
                                Register No. 2004-0002466
                                ~:ook County Jail
                                P.O. Box 08900?
                                Chicago,IL 60608

                                Dear NIr. Brown:

                                       I have received today faxes from attorney Cary containing police reports,
                                which I will review; he does not have the transcript for the grand jury. I have
                                ordered that transcript, but that could take some time. When I receive it, I will .
                                review it and advise you if you need to take action; but, because I.think if is highly
                                unlikely that an issue will appear on the face of the grandjury transcript, I will file
                                my motion to withdraw before that.

                                         I have also received another. letter from you. Please call me by January 8th
                                at the latest so I can answer your additional questions. If I don't hear from you by
                                then, I will go ahead and file my motion.

                                                                                Sincerely,

                                                                                      -'                     ,~    ,~
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                                                                                ADRIENNE RNER
                                                                                Assistant Appellate Defender
              Case: 1:08-cv-06602 Document #: 1 Filed: 11/18/08 Page 39 of 65 PageID #:134

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                               OFFICE OF THE STATE APP,9ELLAi'E DEFENDER
                                        FIRST JUDICIAL DISiRiCT
                                                203 NORTH LASALLE STREET
                                                        24TH FLOOR
                                                  CHICAGO, ILLINOIS 60601
                                                  TELEPHONE: 312/814-5472
                                                      FAX: 312/814-1447

MICHAEL J. PELLETIER                                .J3riU1Ij~ 1 O, 2~0%
  DEPUTY DEFENDER



ADRIENNE RIVER                  Mr. Anthony Brown
A55157ANT APPELLATE DEFENDER
                                ~~A David Wynter
                                Register No. 2004-0002466
                                Cook County Jail
                                P.O. Box 0.89002
                                Chicago, IL 60608

                                Dear Mr. Brown:

                                        As we discussed in our phone conversation, after reading your trial
                                transcripts several times, researching possible issues and discussing your case
                                with another attorney, who has also read the transcripts, I have. concluded that
                                there are no meritorious issues to be raised on your behalf. Therefore, I have filed
                                the enclosed Anders motion and supporting memorandum which explains to the
                                court that there are no meritorious issues and asks that I be permitted to withdraw
                                as counsel. If the court allows my motion, your•conviction and sentence will
                                stand.

                                        The decision that there are no meritorious arguments to be made does not
                                prevent you from bringing matters to the appellate court's attention... You can do
                                so by a letter to the court objecting to my motion. Within the next 60 days you
                                will receive a lettei from the appellate court informing you of your right to object
                                to the Anders motion. The address to direct any objection to is: First District
                                Appellate Court,.lb0 North LaSalle, Suite 1400, Chicago, Illinois 60601.

                                       I am very sorry that there is nothing I can do in your case. Should you
                                have any questions, please do not hesitate to contact me.


                                                                              Sincerely,
                                                                                ;• `f f~   t ~           ~~
                                                                                  ~_,~/ ~
                                                                              ADRIENNE          R
                                                                              Assistant Appellate Defender
Case: 1:08-cv-06602 Document #: 1 Filed: 11/18/08 Page 40 of 65 PageID #:135




                                       I have written to Mr. Cary and have not yet received by fax or otherwise
                               copies of the grand jury transcript and the police reports to which you refereed to
                               in a previous letter.

                                                   ~                               Sincerely,

                                                                                       .~;                                   ~`    P




                                                                                   ADRIENNE RNER
`~                                                                                 Assant Appellate Defender




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Case: 1:08-cv-06602 Document #: 1 Filed: 11/18/08 Page 41 of 65 PageID #:136



                  I have not received the grand jury transcript, but I will follow up with your
           present counsel at the telephone number you provided.

                   My understanding is that you may call me from the jail without my need to
           make prearrangements; please call me by December 18th. But, unfortunately,
           pending review of the grand jury transcript and a telephone conference with you, I
           plan on filing a motion to withdraw as counsel in your appeal because I do not
           believe there are any meritorious issues that I can raise on your behalf. I have
           concluded that the stop was valid due to your flight, that the showup was valid
           and was not so suggestive that the child's identification was inadmissible that an
           argument that your guilt was not proven bey nodra easonable tiout5i`wo  dnot be
           successful on appeal, and that your sentence was not excessive. Two other
           attorneys agreed with my decision, one of whom who also read the record. Once I
           filed the motion, I will send you a copy, and the appellate court will give you an
           opportunity to respond.

                                          Sincerely,
                                                       .~                 n~~}~.
                                                                               ~


                                          ADRIENNE RNER
                                          Assistant Appellate Defender
            Case: 1:08-cv-06602 Document #: 1 Filed: 11/18/08 Page 42 of 65 PageID #:137


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                               OFFICE OF THE STATE APPELLATE DEFENDER
                                        FIRST JUDICIAL DISTRICT
                                               203 NORTH LASALLE STREET
                                                       '24TH FLOOR
                                                 CHICAGO,ILLINOIS 64601
                                                 TELEPHONE; 312/814-5472
                                                     F,4X: 312!814-1447

MICHAEL J. PELLETIER
  DEPUTY OFFENDER                                       January 10, 2007

ADRIENNE RIVER                 Mr. Anthony Brown .
ASSISTANT APPELLATE DEFENDER
                               ~~A David Wynter~
                               Register No. 2004-0002466
                               Cook County Jail
                               P.O. Box 089002
                               Chicago,IL 60608

                               Dear Mr. Brown:

                                     I am enclosing your copies ofthe transcripts from May 4, 2004, and
                               September 23, 2003.

                                      In your recent letters, you referenced the police reports that attorney Wham
                               Cary forwarded to me; but they do refer to both children being present, and they
                               do not specifically state that t        n identified• voi;; Due to budget constraints,
                               we do not have the funds to make    you personal copies of the reports. Perhaps Mr.
                               Cary would be willing to send you copies.

                              After reviewing all the materials in your case and considering the issues
              „_,_.,~,~~ raised in your letters, I concluded that there were no meritorious issues that I
                      could raise in the appellate court that would give you relief from this conviction. I
                      asked you to call me by January 8th to talk to you about this decision, but I have
                      not heard from you. I will be filing my motion to withdraw from the case today.

   ~,                                     ~    ~       ~ ,~,,.•          >~~      Sincerely,
                  ~                                                                                          ~~~

        ~                                          ~

                                                                                  ADRIENNE RNER
                                                                                  Assistant Appellate Defender


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                                                     CLERK'S OFFICE

                                       APPELLATE COURT FIRST DISTRICT
                                                    STATE OF ILLINOIS
STEVEN M. RAVID                           1 GO NORTH LASALLE STREET, RM S1400
         Ctextc                                 CHICAGO, ILLINOIS ~0~01




                                                       January 25, 2007




        Mr. Anthony Brown
        a/k/a David Wynter
        ID# 2004-0002466
        Cook County Jail
        P. O. Box 089002
        Chicago, IL 60608

        In Re:         OS-3805

        Dear Mr. Brown:

               Enclosed please find afile-stamped copy of your response to your attorney's Anders motion
        to withdraw.

                Within the next few weeks, you will be receiving from Ms. Marilyn Kujawa, Director,
        Research Division, Illinois Appellate Court, First District, a letter explaining responses to Anders
        motions. Please note that the enclosed file-stamped response will be considered by the Court even
        though it was filed before you received Ms. Kujawa's letter. If, however, you wish to .make an
        additional response to the Anders motion after you have received and reviewed Ms. Kujawa's letter,
        you may do so by the date set forth in the letter for a response. Any additional response that you may
        choose to file should not duplicate the matters t!~at you have already addressed in your January 25`h
        response.

                                                       Very truly yours,          -~-~
                                                                           . L~~,~..Qe.
                                                       Cindy F. Wile
                                                       Administrativ;; Attorney

        CFW/cb
   '      ~   Case:
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                 Case: 1:08-cv-06602 Document #: 1 Filed: 11/18/08 Page 53 of 65 PageID #:148
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                                             No. 1-05-3805


                                 IN THE APPELLATE COURT OF ILLINOIS                               ~
                                       FIRST JUDICIAL DISTRICT


            THE PEOPLE OF THE STATE OF ILLINOIS,                            Appeal from the
                                                                            Circuit Court of
                    Plaintiff-Appellee,                                     Cook County.

            v.                                                              No. 03 CR 13659

            ANTHONY BROW,~T AKA DAVID WYNTER,                               The Honorable
                                                                            James B. Linn,
                    Defendant-Appellant.                                    Judge Presiding.



                                                O R D E R


                    Following a bench trial, defendant Anthony ~3rown was found
    i
            guilty of residential burglary and sentenced as a Class X

            offender to a prison term of 12 years.               Defendant, appealed and

r           the State Appellate Defender was appointed to represent him.

                    Counsel has now filed a motion in this court. requesting

            leave to withdraw based on her conclusion that an appeal in this

            cause would be without arguable merit.               She has ~ilso submitted a

            brief iii support of her motion pursuant to Anders v. California,

            386 U.S. 738, 18 L. Ed. 2d 493, 87 S. Ct. 1396 (1967).

                    Defendant was advised of counsel's conclusion and request to

            withdraw, and has filed a series of pro se responses raising a

            number of assertions.         Defendant contends that appellate counsel

            was ineffective for failing to obtain a complete record to

            effectively address his claims, to provide him airy part of the
     Case: 1:08-cv-06602 Document #: 1 Filed: 11/18/08 Page 54 of 65 PageID #:149

'   1-05-3805



    common law record, and to raise the following issues on appeal:

    (1) the validity of the indictment based on prosecutorial

    misconduct before the grand jury, (2) his fitness to stand trial,

    (3) the trial court's failure to require the State to prove his

    eligibility for Class X sentencing, and (4) the ineffectiveness

    of trial counsel for failing to raise an objection thereto and

    for advising him to admit being in possession of the burglary

    proceeds.

         With regard to defendant's allegations of ineffective

    assistance of appellate counsel, we acknowledge defendant's right

    to effective assistance of counsel on appeal.           However, we also

    recognize that appellate counsel is under no obligation to brief

    every conceivable argument on appeal, and that it is not

    incompetence for counsel to refrain from raising those issues,

    which in counsel's judgment, are without merit.            People v. Ford,

    368 Ill. App. 3d 562, 575 (2006).

         Moreover, defendant has contradicted his own claim that

    appellate counsel never considered his allegations by attaching,

    to his pro se responses,'correspondence from counsel indicating

    that counsel found it was "highly unlikely that an issue will

    appear on the face of the grand-jury transcript," and that the

    trial court's comment concerning his fitness for trial did not

    provide a basis for appeal as the court continued the trial for a

    fitness evaluation.      See People v. Boclair, 225 I11. App. 3d 331,

    338 (1992).

         As to defendant's claim regarding his eligibility for Class

                                         -2-
' ,'    Case:
          g   1:08-cv-06602 Document #: 1 Filed: 11/18/08 Page 55 of 65 PageID #:150

       1-05-3805



       X sentencing, we observe that the presentence investigation

       report, filed with the trial court, set forth defendant's prior

       felony convictions and was a reliable source from which the trial

       court could appropriately determine his eligibility for Class X

       sentencing.    See People v. Moore, 365 I11. App. 3d 53, 67 (2006);

       People v. James, 362 I11. App. 3d 285, 292-93 (2005).             Thus,

       defendant's claims of trial court error, the State's failure to

       authenticate his prior conv~..ctions, and trial counsel s

       ineffectiveness in that regard must fail.          Finally, defendant's

       claim that his trial counsel was ineffective for advising him to

       admit to being in possession of the burglary proceeds is based on

       matters outside of the record and therefore not properly before

       us on appeal.    People v. Bock, 357 Ill. App. 3d 160, 169 (2005).

            Having carefully reviewed the record in this case, counsel's

       brief, and defendant's pro se responses, in compliance with the

       Anders decision, we find no issues of arguable merit to be raised

       on appeal.    We therefore grant the motion of the State Appellate

       Defender for leave to withdraw as counsel and affirm the judgment

       of the circuit court of Cook bounty.

            Affirmed.

            O'MARA FROSSARD, J., with O'BRIEN, F.J., and GALLAGHER, J., concurring.




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             Case:
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                   1:08-cv-06602 Document #: 1 Filed: 11/18/08 Page 56 of 65 PageID
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                                           CLERK OF THE COURT
                                            SUPREME COURT BUILDING
                                           SPRINGFIELD, ILLINOIS 62701
                                                 (217)782-2035

                                          January 30, 2008




                   Mr. Anthony Brown
                   a/k/a David Wynter
                   Reg. No. N-04231
                   Stateville Corr. Center, P. O. Box 112
                   Joliet, IL 60434

                   No. 105586 - People State of Illinois, respondent, v. Anthony
                                 Brown, etc., petitioner.                          Leave to appeal,
                                 Appelia~z          curt, ~'irs~ District.


                       The Supreme Court today DENIED the petition ror lave 'to

                  appeal in the above entitled cause.


                       The mandate of this Court will issue to the Appellate Court

                  on March 6, 2008.
        Case: 1:08-cv-06602 Document #: 1 Filed: 11/18/08 Page 57 of 65 PageID #:152



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                                      NOTICE Off' APPEAL


        An appeal is begun by ihe~filing of a Notice of Appeal. Usual)y the notice must be fi)ed

within 30 days after the date ofthe'order being appealed_ In some cases, as when the defendant was

not informed of his right to appeal or he has an excuse for not filing a timely notice, a notice may

be filed within six months from the expiration date of30 days for a timely notice.

       ?he Notice of Appeal is filed in the~Circuit (trial) Court. Once the notice is filed, the trial

judge deterniines ifthe appellant can afford an attorney. Ifhe cannot,ihejudge appoints an attorney

to represent him.


                                 DOCKETING STATEMENT

       Within fourteen days after the Notice ofAppeal is fi]ed, counsel for the appellant must fi]e

with the appellate court a docketing statement, which simply informs the Appe1)ate Court of the

nature of the case and the anticipated Iength of the record.                    ~



                                     RECORD Ol~l APPEAL                                 ~•~
                                                                                           ~~.
The »ext step in the appellate process is the preparation of the record on appeal. The Record on

Appeal consists ofthe re"pori ofproceedings(transcript)and the common law record_ The common
                                                             ~,
law record contains a1~ the documents filed in the case, e.g., mdschnen motions orders, etc.

       An appeal is based on the record. Only issues vwhich appear in the report ofproceedings or

common ]aw record maybe raised in the brief filed by the appe]Iant's attorney.
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       Case: 1:08-cv-06602 Document #: 1 Filed: 11/18/08 Page 58 of 65 PageID #:153
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                                                                  ~~~,~~~~
               IN THE CIRCLJI'I' COURT OF COOK COUNTY, ILLINOIS               Page a08

         PEOPLE OF THE STATE OF ILLINOIS

                           VS                    NUMBER 03CR1365901

        ANTHONY         BROWN

               CERTIFIED STATEMENT OF CONVICTION / DISPOSITION

   I, DOROTHY BROWN, Clerk of the Circuit Court of Cook County, Illinois,
and keeper of the records and seal thereof do hereby certify that the
electronic records of the Circuit Court of Cook County show that:

The States Attorney of Cook County filed an INDICTMENT/INFORMATION
09/14/05 FINDING OF GUILTY                  C001 00/00/00
     LINK  JAMES  B.
09/14/05 BAIL REVOKED                            00/00/00
     LIMN JAMES B.
09/14/05 PRE-SENT INVEST. ORD, CONTD TO          00/00/00
     LINN JI~MES B.
09/14/05 CHANGE PRIORITY STATUS             M    00/00/00
     LINK JAMES B.
09/14/05 CONTINUANCE BY ORDER OF COURT           10/18/05
     LINK JAMES B.
10/11/05 NOTICE OF APPEAL FILED, TRNSFR          00/00/00
10/18/05 PRISONER DATA SHEET TO ISSUE            00/00/00
     LTNN ~7AMES B.
10/18/05 MOTION DEFENDANT - NEW TRIAL            GO/00/00 D
     LIMN JAMES B.
10/18/05 DEF SENTENCED ILLINOIS DOC         0001 UU%GO/00
                  12 YRS
     LIMN JAMES B.
10/18/05 CREDIT DEFENDANT FOR TIME SERV          00/00/00
                         680 DYS
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10/18/05 FINES COSTS FEES PER DRFT ORD           OOf00/00                         $      670
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10/18/05 CREDIT FOR TIME SERVED                                                   $      :.~
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10/18/05 NOTICE OF NOTICE OF APP MAILED          00/00/00
10/18/05 ~-IEARING DATE ASSIGNED                 10/21/05 1713
10/21/05 ILL STATE APPELLATE DEF APPTD           OOf00/00
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10/21/05 0/C FREE REPT OF PRaCD ORD N/C          00/00/00
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           Case: 1:08-cv-06602 Document #: 1 Filed: 11/18/08 Page 59 of 65 PageID #:154
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          ,.
                     IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS                Page X09

               PEOPLE OF THE STATE OF ILLINOIS

                               VS                    NiJMBER U3CR1 X65901

               ANTHONY      BROWN

                    CERTIFIED STATEMENT OF CONVICTION / DISPOSITION

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The States Attorney of Cook County filed an INDICTMENT/INFORMATION
12f06/OS APPELLATE COURT NiJMBER ASGND          00/00/00 05-3805
12/08/05 CLR RECD BY APP COUNSEL                00/00/Od
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12/09/05 SUPPL REPuRT Gr FkCD PREPARED          00/OOjOa
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12/13/05 SUPPL REC RECD BY APPL COUNSEL         00/00/00
     STATE APPELLATE DEFENDER - ONE VOLUME
04/05/06 REPT OF PRCDS ORD FR CRT RPT           Op/OQ/OD
04%18/06 REPT OF FRCDS ORD FR CRT RPT           00/00/00
09/15/06 `I'IlANS PKDC REC/FILED CLKS OFF       00/00/00
     ONE VOLUME
09f25/06 REPORT OF PROCEEDINGS PREPARED         00/00/00
     ONE VOLUME                                      •
09f26/06 REPRT/PROCDS RECD BY APP ATTRY         00/00/00
     STATE APPELLATE DEFENDER - ONE VOLUME
49%27/06 SUPP TRAM PRG REC/FILE CLK OFF         00/00/OG
     ONE VOLUME
10/02/06 REPORT OF PROCEEDINGS PREPARED         00/DO/OQ
     ONE VOLUME
10/03/06 REPRT/PROCDS RECD BY APP ATTRY         00/00/Oa
     STATE APPELLATE DEFENDER - ONE VOLUME
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     ONE VOLUME
10/11/06 SUPP TRAM PRO REC/FILE CLK OFF         00/00/00
     ONE VOLUME
1Of31/06 SUPPL REC RECD BY APPL COUNSEL         00/OOf00
     ONE VOLUME
1Of31/06 SUPPL REC RECD BY APPL COUNSEL         00/00/Od
     STATE APPELLATE DEFENDER - ONE VOLUME
1Of31/06 SUPPL REPORT OF PROD PREPARED          00/OOf00
     STATE APPELLATE DEFENDER - ONE VOLUME
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     ONE VOLUME
11/02/06 SUPPL REPORT OF PROD PREPARED          OQ/00/00
     ONE VOLUME
       Case: 1:08-cv-06602 Document #: 1 Filed: 11/18/08 Page 60 of 65\,~PageID
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                IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS                     Page 010

         PEOPLE OF THE STATE OF ILLINOIS

                           VS                     NUMBER 03CR1365901




                CERTIFIED STATEMENT OF CONVICTION / DISPOSITION

   I, DOROTHY BROWN, Clerk of the Circuit Court of Cook County, Illinois,
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The States Attorney of Cook County filed an INDICTMENT/INFORMATION
11/08/06 SUPPL REC RECD BY APPL COUNSEL         00/00/00
      STATE APPELLATE DEFENDER - aNE VOLUME
1 /31/06 SUPP TRAM PRO REC/FILE CLK OFF         OOj00/00
      ONE VOLUME
11/14/06 SUPPL REPORT OF PROD PREPARED          00/00/00
      (O1)VOLUME SUPP ROP PREPARED
11/17/06 SUPP TRAM PRO REC/FILE CLK OFF         OOj00/00
      ONE VOLUME
il/21/06 SUPPL REC RECD BY APPL COUNSEL         OOf00/00
      STATE APPELLATE DEFENDER - ONE VOLUI✓E
11/30/06 SUPPL REPORT OF PROD PREPARED          00/00/00
      ONE VOLUME
11/30/06 SUFPL REPORT OF PRCD PREPARED          OOf~O/00
      ONE VOLUN:E
1:1/U9/06 SUPP TRAM PRO REC/FILE CLK OFF        OC/OC/00
      ONE VOLUME
12/05/06 SUPPL REC RECD BY APPL COUNSEL         00/00/00
      STATE APPELLATE DEFENDER - ONE VOLUME
12/05/06 SUPPL REC RECD BY APPL COUNSEL         00/00/00
      STATE APPELLATE DEFENDER - ONE VOLUME
02/08/07 SPECIAL ORDER                          OOf00/00 F       2
      MOTION-COPY OF CHARGING INSTRUMENTS.
02/08/07 HEARING DATE ASSIGNED                  02f14/07 1724
02/14/07 SPECIAL ORDER
      PROSE MOTION FOR COPY OF CHARGES DENIED
     ,jij,~]j~T JAMES B.
02/14/07 SPECIAL ORDER
      OFF CALL
      LINK JAMES B.
04/04/07 SPECIAL ORDER                          00/00/DO F       2
      COPY OF CHARGING INSTRUMENTS_
04/04/07 HEARING DATE ASSIGNED                  04/09/07 1724
04/09/0! DEFENDANT IN CUSTODY                   OD/00/00
      ILLINOIS DEPARTMENT OF CORRECTIONS
      LINK JAMES B.
04/09/07 CONTINUANCE BY AGREEMENT               04/25/07
      LINK JAMES B.
       Case: 1:08-cv-06602 Document #: 1 Filed: 11/18/08 Page 61 of 65 PageID #:156

               IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS                 Page 011

         PEOPLE OF THE STATE OF ILLINOIS

                          VS                    NUMBER 03CR1365901

         ANTHONY        BROWN

               CERTIFIED STATEMENT OF CONVICTION / DISPOSITION

   I, DOROTHY BROWN, Clerk of the Circuit Court of Cook County, Illinois,
and keeper of the records and seal thereof do hereby certify that the
electronic records of the Circuit Court of Cook County show that:

The States Attorney of Cook County filed an I[~DICTMENT/INFORMATION
04/25/07 SPECIAL ORDER                          00/00/00
     PROSE MOTION FOR PRETRI~~TSCnVERY DENIED
     LINK JAMES B.
04J25/07 SPECIAL ORDER                          00/OOj00
     OFF CALL
     LINK JAMES B.
12f12/07 SPECIAL ORDER                          00/OOf00 F        2
     GRAND JURY MINUTES TRANSCRIPTS.
12%12/07 HEARING DATE ASSIGNED                  12/17f07 1724
12f17/07 SPECIAL ORDER                          00/OOf00
    HBO ~F MOTION FOR DTSCnVF.R_ n~~T ~,
     LIMN JAMES B.
03/04/08 SPECIAL ORDER                          00/00%00 F        2
     .OPY OF CHARGING INSTRUMENTS.
03/04/08 HEARING DATE ASSIGNED                  03/11f08 1724
03f11/08 SPECIAL ORDER                          00/~Of00
     2ND PRO SE MIN. FOR DISCOVERY & POLICE REPORTS DENIED
     LINK JAMES B.         -             —     — -- -•-  — - -  --
~3f18/08 MANDATE FILED                          03/28f08 1701
     05-3805
03%28/08 REVIEW COURT AFFIRMANCE                00/00%00
     GAINER THOMAS V JR.
07f14/08_POST-CONVICTION FILED                  00/00/00
07f14/08 PAUPER PETITION FILED                  00/00/00
07f14/08 SPECIAL ORDER                          00/DO/00
     MOTION FQR APPOINTMENT OF COUNSEL
07f14/08 HEARING DATE ASSIGNED                  07/18/08 1724
07/18/08 DEFENDANT NOT IN COURT                 00/00/00
     LIMN JAMES B.
D7/18/08 CONTINUANCE BY ORDER OF COURT          07/21/08
     LINK JAMES B.
07/21/08 DEFENDANT NOT IN COURT                 00/00/00
     LINK JAMES B.
07/21/08 CONTINUANCE BY ORDER OF COURT          07/22/08
     LINK JAMES B.
07 22 08 SPECIAL ORDER                          00/00/00
 aPRO SF. PAST CONVICTION PETITION-DENIED
     LINK JAMES B. ---   —
      Case: 1:08-cv-06602 Document #: 1 Filed: 11/18/08 Page 62 of 65 PageID #:157




              OFT'ICE OF THE CIRCt7IT COURT CLARKS OF COOK COUNTY
                           2650 S. CALIFORNIA-STS FLOOR
                              CHICAGb,-ILLINOIS 60608
                                     (773)869-3143



       DATE: JULY 23, 2008



                     PETITIONER                         )

                            VS.                         )

       THE PEOPLE OF T$E STATE OF ILLINOIS )
                  RESPON'bENT              )                    CASE NO: 03CR13659-01



       Tb:    ANTHONY BROWN #N-04231

       t~D~sS: P_(1_ ROX 999

       CITY &STATE PINc~oiLLE, IL. 62274

                                             NOTICE

       Pursuant to Iltinois Supreme Court Rule 651, as Amended and Adopted on January 25,
       1996, and effective the'same day to read as follows:

      "You are her~b~ notified that on ,rpyy 22~ 2008           the court entered an order, a copy
      of which is enclosed h~ere~ith. You may have a right to appeal..In the case of an appeal
     .from ~a post-conviCtiolu pt~oceeding involving a judgmentimposing a sentence of death, the
      appeal is to the I11 his Supreme Curt. Yn all other cases;the app~ai is to the Illinois
      appellate Court in the district in wtiich the circuit court is locafed. If you are indigent,
      you have a right to a transcript of the record ~f the post=conviction proceedings and to
      the appointment of counsel an appe~[l, both without cost tb ybu. To preserve your right to
~"~~" appeal you must file a notice of appeal in the trial coprt within 30 days from the date the
      order was entered."



                                                                      J
                                                                          Clerk of the   cuit Court
      Case: 1:08-cv-06602 Document #: 1 Filed: 11/18/08 Page 63 of 65 PageID #:158

                                                                       .~1~G~. V/11/7L~ l.l.l.11 VV04




               IN THE CIRCUIT COURT OF COOK COUNTY,ILLINOIS
                  COUNT~i'DEPARTMENT -CRIMINAL DIVISION


PEOPLE OF THE STATE OF ILLINOIS
                                                       INDICTMENT NO. 03CR13659—01

                                                       INDICTMENT FOR:
                    VS.



             ANTHONY BROWN



                          CERTIFIED REPORT OF DISPOSITION

             The following disposition was rendered before the Honorable Judge.TAt~S LINri


 ON ~T]LY 22~ 2008PR0 SE POST—CONVICTION RELIEF IS D@IIED.




                                              I hereby certify that the foregoing bas been entered
                                              of record on the above captioned case.

                                              Date:   J1TLY 23. 2008
                                         •
                                         a
                           ~
                           oO ~S6RF~~ ``,`'
                            ,                  DOROTHY BRO          ,Cler of the Circuit Court


 DOROTHY BROWN,CLERK OF THE CIRCUIT COURT OF COOK COUNTY,ILLINOIS
     r
         `
             ,Case:
                ~♦
                    1:08-cv-06602 Document #: 1 Filed: 11/18/08 Page 64 of 65 PageID #:159
                                                              CLERK'S OFFICE

                                               APPELLATE COURT FIRST DISTRICT
                                                             STATE OF ILLINOIS
STEVEN M. RAVID                                    1~0 NORTH LASALLE STREET, RM S14O0
             C~Ewc                                        CHICAGO, ILLINOIS ~0~01




                                                                October 3l, 2008




         Mr. Anthony Brown
         Reg. No. N04231
         P. O. Box 112
         Joliet, 1L 60434-0112

         In Re:               08-2915

         Dear Mr. Brown:

                 In response to your most recent inquiry, it appears that your letter crossed in the mail with
         the letter I sent you earlier this week advising that your Notice of Appeal was filed in the Circuit
         Court on August 4, 2008, and was docketed in the Appellate Court on October 27, 2008 as appeal
         number 08-2915.

                 At this time, no action has been taken in your appeal other than the filing ofthe Notice of
         Appeal. According to our records, you currently are not represented by counsel, and it is therefore
         your responsibility as the appellant to pay the $25 docketing fee or move to proceed as a poor
         person, complete and return a Docketing Statement(copy enclosed) along with your fee or motion
         to proceed as a poor person, and arrange with the Clerk ofthe Circuit Court and the Court
         Reporters to have the common law record and any transcripts bound and certified and filed in the
         Appellate Court. At this time, your record is past due, so you will need a motion for leave to file
         the record once it has been prepared.

                All motions you submit to the Court seeking any type of relief must meet the following
         requirements.

                     Rule 361(b)(1)
                     [A] motion, together with proof of service, shall be filed with the clerk. Service and filing will
                     be excused only in case of necessity.
  Case: 1:08-cv-06602 Document #: 1 Filed: 11/18/08 Page 65 of 65 PageID #:160




     Rule 361(b)(3)
     Motions, supporting papers, and responses filed... in the Appellate Court [shall consist ofJ an
     original and three copies.... A proposed order phrased in the alternative (e.g.,"Allowed" or
     "Denied"] shall be submitted with each motion, and a copy served upon all counsel of record.
     A copy ofthe style of such orders may be obtained from the Clerk's Office. No motion shall
     be accepted by the clerk unless accompanied by such a proposed order.

                                               Very truly yours,


                                               Cindy F. Wile
                                               Administrative Attorney

CFW/cb
